8:08-cr-00408-LES-FG3   Doc # 70   Filed: 06/17/09   Page 1 of 1 - Page ID # 159



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:08CR408
                              )
          v.                  )
                              )
SCOTTY BOTHWELL,              )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to restrict (Filing No. 68).       The Court finds the motion should

be granted.   Accordingly,

          IT IS ORDERED that the motion is granted; the

sentencing memorandum shall be filed as restricted pursuant to

the E-Government Act.

          DATED this 17th day of June, 2009.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
